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opinion published in the Advance Sheets for the Georgia Reports, designated as the “Final Copy,” will replace any
prior version on the Court’s website and docket. A bound volume of the Georgia Reports will contain the final and
official text of the opinion.
In the Supreme Court of Georgia



                                                   Decided: April 18, 2023



      S23Y0225. IN THE MATTER OF JASON LEE VAN DYKE.

        PER CURIAM.

        This is the third appearance of this disciplinary matter before

the Court, following Special Master Daniel S. Reinhardt’s rejection

of Jason Lee Van Dyke’s (State Bar No. 851693) first petition for

voluntary discipline, our rejection of his second petition, and our

rejection of his third petition and remand to the Special Master for

additional fact-finding and to resolve any matters of reciprocal

discipline. See In the Matter of Van Dyke, 311 Ga. 199 (857 SE2d

194) (2021) (“Van Dyke I”); In the Matter of Van Dyke, 313 Ga. 53

(867 SE2d 124) (2021) (“Van Dyke II”). The State Bar initiated this

matter by filing a Bar Rule 4-106 petition for appointment of a

special master based on Van Dyke’s plea of nolo contendere in a

Texas criminal misdemeanor case. The Special Master was
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appointed, and Van Dyke filed several petitions for voluntary

discipline. In his first and second petitions, Van Dyke sought

voluntary discipline in connection with his admitted violation of

Rule 8.4 (a) (3)1 of the Georgia Rules of Professional Conduct (“the

Rules” or “the Georgia Rules”) found in Bar Rule 4-102 (d), by virtue

of his plea of nolo contendere. The Special Master rejected Van

Dyke’s first petition, and as explained more below, we rejected his

second petition and remanded the case for the Special Master to

make additional findings of fact as to Van Dyke’s conduct during the

Texas criminal proceeding and as to whether he was subject to

reciprocal discipline in connection with any past or current

disciplinary proceedings in other jurisdictions. See Van Dyke I, 311




      1 Rule 8.4 (a) (3) provides, “It shall be a violation of the Georgia Rules of

Professional Conduct for a lawyer to: be convicted of a misdemeanor involving
moral turpitude where the underlying conduct relates to the lawyer’s fitness
to practice law.” A plea of nolo contendere constitutes a “conviction” under Rule
8.4 (a) (3). See Rule 8.4 (b) (1) (“conviction” for purposes of Rule 8.4 includes a
plea of nolo contendere); see also Rule 8.4 (b) (2) (“[t]he record of a conviction
or disposition in any jurisdiction based upon . . . a plea of nolo contendere . . .
shall be conclusive evidence of such conviction”). The maximum penalty for a
Rule 8.4 (a) (3) violation is disbarment.


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Ga. at 203. Before the Special Master could hold a hearing, Van

Dyke filed a third petition, seeking voluntary discipline in

connection with his admitted violation of Rule 8.4 (a) (3) and

voluntary reciprocal discipline under Rule 9.42 based on his

discipline in Texas and reciprocal discipline in other jurisdictions

where he is licensed to practice law. We rejected the petition and

remanded the case for the Special Master to make the factual

findings ordered in Van Dyke I. See Van Dyke II, 313 Ga. at 55.3

     This matter is now before the Court on the Special Master’s

Report and Recommendation after a hearing held on May 6, 2022.

The Special Master recommends that the Court impose a three-year

suspension from the practice of law, nunc pro tunc to March 1, 2019.

Neither    party     has    filed   exceptions     to    the    Report     and



     2 Rule 9.4 (b) provides that a Georgia lawyer must inform the State Bar’s

Office of General Counsel upon being suspended or disbarred in another
jurisdiction so that the State Disciplinary Review Board can recommend the
imposition of substantially similar discipline.
     3 Van Dyke did not file a new petition for voluntary discipline following

our rejection of his third petition in Van Dyke II. Thus, only the Bar Rule 4-
106 petition was before the Special Master on remand, and that is the only
proceeding currently before this Court.

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Recommendation. See Bar Rule 4-218. Although a petition for

reciprocal discipline was not pending before him, the Special Master

engaged in the fact-finding we requested in Van Dyke I regarding

whether Van Dyke was subject to reciprocal discipline in Georgia in

connection with any past or current disciplinary proceedings in

other jurisdictions.      As discussed below, the Special Master

determined that reciprocal discipline in Georgia would be

inappropriate, without fully analyzing the three disciplinary

proceedings in Texas in which Van Dyke was sanctioned. The

Special Master nonetheless looked to the total length of the

suspensions Van Dyke received in those three Texas disciplinary

proceedings in formulating his recommendation that Van Dyke

receive a three-year suspension in this Georgia disciplinary

proceeding. As explained more below, we reluctantly accept the

Special Master’s recommendation and impose a three-year

suspension nunc pro tunc to the date Van Dyke stopped practicing

law in Georgia.

     1. Facts

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     Regarding the underlying circumstances surrounding Van

Dyke’s misconduct, this Court has previously recounted as follows:

     Van Dyke, a Texas resident, is licensed to practice law in
     Texas and several other jurisdictions, including Georgia.
     In September 2018, Van Dyke called local police to report
     the theft of several items from his truck. After police
     interviewed his then-roommate, Van Dyke was arrested
     for making a false report. Van Dyke contested the
     charges. By his own admission, Van Dyke violated the
     conditions of his bond while his charges were pending.[4]
          Shortly before trial, the roommate, whom the State
     had planned to call as a witness, went missing.
     Contending that Van Dyke had procured the
     unavailability of the witness, the State filed a motion
     seeking forfeiture by wrongdoing, which was granted.
     Van Dyke then agreed to enter a plea of nolo contendere
     and, on February 26, 2019, Van Dyke entered his plea
     before the Denton County, Texas Criminal Court Number
     Five on one count of making a false report to a law
     enforcement officer. He was sentenced to 24 months’
     deferred adjudication community supervision, with
     special conditions.

Van Dyke I, 311 Ga. at 200 (footnotes omitted). The State Bar

initiated this proceeding under Bar Rule 4-106 and this Court

appointed a Special Master. See id. The Special Master rejected Van



     4 In Van Dyke I, we noted that, “[a]ccording to Van Dyke, he left town in

violation of his bond conditions to attend a ‘waterfowl hunt’ that he had
scheduled before his arrest.” 311 Ga. at 200 n.1.

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Dyke’s first petition for voluntary discipline, which requested

discipline ranging from a public reprimand to a six-month

suspension. See id. In his second petition for voluntary discipline,

which was the one at issue in Van Dyke I, Van Dyke maintained his

innocence as to the underlying criminal charge, asserting that he

was prosecuted based on information law enforcement received from

an individual who Van Dyke alleged had been stalking, defaming,

and harassing him since 2017. See id. at 200-201. In supplemental

filings requested by this Court, Van Dyke averred that, as a result

of his criminal conviction, he had been suspended from the practice

of law in Texas and received reciprocal discipline from other

jurisdictions for his Texas suspension. See id. at 201-202. We

expressed concern with Van Dyke’s conduct in the underlying

criminal proceeding and his suspensions in other jurisdictions,

which “warrant[ed] additional fact-finding.” Id. at 202. Additionally,

it appeared that Van Dyke had been suspended by the Texas Bar in

a separate proceeding in February 2019, but it was unclear whether

he complied with his obligation under Rule 9.4 (b) to inform this

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Court of that suspension. See id. at 202-203. Thus, we rejected Van

Dyke’s second petition for voluntary discipline and remanded the

case for additional fact-finding about Van Dyke’s past disciplinary

proceedings in other jurisdictions, including his February 2019

suspension in Texas; the violation of his bond conditions in the

underlying criminal case; the basis for the forfeiture by wrongdoing

determination; and any other matters that the Special Master

deemed relevant. See id. at 203.

     Before the Special Master could hold a hearing, Van Dyke filed

a third petition and amended petition, in which he requested

“‘discipline in the form of a suspension from the practice of law for

no more than thirty-six months nunc pro tunc to March 1, 2019 as a

resolution to both the pending proceeding under Rule 4-106 and all

matters for which he is subject to reciprocal discipline in Georgia.’”

Van Dyke II, 313 Ga. at 55. With Van Dyke’s consent, the State Bar

asked this Court to remand the case for the Special Master to

consider the request for reciprocal discipline along with the Bar Rule

4-106 petition. We again rejected the petition and remanded the case

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to the Special Master to make factual findings as ordered in Van

Dyke I and to resolve matters of reciprocal discipline as appropriate.

See id.

     2. Report and Recommendation

     Following an evidentiary hearing, the Special Master issued

his Report and Recommendation, which contained findings of fact,

including specific findings requested by this Court in Van Dyke I,

and conclusions of law.

     At the outset, the Special Master found that Van Dyke violated

Rule 8.4 (a) (3) by virtue of his February 26, 2019 plea of nolo

contendere in his Texas criminal case. As to Van Dyke’s background

and legal practice in Georgia, the Special Master found that Van

Dyke was admitted to practice law in Texas in 2007 and was

admitted to practice in Georgia in 2015. Although he had a private

solo practice in Texas, his Georgia practice consisted of his work as

general counsel to a credit-repair and debt-settlement company,

comprising 2% to 5% of his practice. In his third petition for

voluntary discipline and at the hearing, Van Dyke submitted

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evidence in the form of affidavits from his supervisors at the credit-

repair company that he had not represented clients in Georgia since

February 28, 2019, and the Special Master credited that evidence in

the Report and Recommendation.

     a. Fact-Finding Requested in Van Dyke I

           i. Texas Disciplinary Incidents

     The Special Master recounted Van Dyke’s three disciplinary

proceedings in Texas. On December 28, 2018, Van Dyke received a

six-month probated suspension from the Texas Bar (“First Texas

Incident”), in connection with a civil lawsuit in which he threatened

criminal or civil action to gain an advantage in the lawsuit and

operated under a conflict of interest with respect to his

representation of the client in that lawsuit. On February 21, 2019,

Van Dyke received a 12-month partially probated suspension from

the Texas Bar (“Second Texas Incident”) for making threats of

violence to his alleged harasser in March 2018. On April 30, 2020,

Van Dyke received an 18-month partially probated suspension from

the Texas Bar (“Third Texas Incident”) based on his plea of nolo

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contendere to the criminal charge of making a false report to law

enforcement, which is the same charge at issue in the Bar Rule 4-

106 disciplinary proceeding before this Court. The Special Master

noted that Van Dyke is currently in good standing with the Texas

Bar. The Special Master then recounted that Van Dyke received

partially probated suspensions in Colorado, the District of

Columbia, and the United States District Courts for the Northern

and Eastern Districts of Texas, but as of May 6, 2022, he was again

in good standing with each of these jurisdictions.

           ii. Facts Indicating Van Dyke’s Apparent Lack of Respect
               for the Law and Legal Process

     The Special Master then turned to the other fact-finding

matters requested by the Court in Van Dyke I. The Special Master

found that, in connection with Van Dyke’s misdemeanor criminal

case, the State of Texas moved to hold Van Dyke’s bond insufficient

on the basis that he had committed additional criminal offenses and

threatened to commit future offenses—specifically, by making

threats to his alleged harasser by email in September 2018. The


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Special Master noted that Van Dyke denied sending the September

2018 emails and testified that the emails were the basis for new

criminal charges for which he was arrested, but that the charges

were no-billed by a grand jury and Van Dyke’s arrest on those

charges was expunged. The Special Master found no evidence that

Van Dyke was convicted of any crime or that disciplinary action was

taken against him for the alleged September 2018 email threats

against his alleged harasser.

     The Special Master noted that Van Dyke failed to attend the

hearing on the motion to hold bond insufficient because he chose to

go on a hunting trip. When Van Dyke returned, he immediately

notified his attorney and arranged to turn himself in to the Denton

County, Texas Sheriff’s Office. The Special Master noted that the

Texas court increased the amount of Van Dyke’s bail after he turned

himself in, but it was unclear from the record whether bail was

increased as a result of the State’s motion to hold bond insufficient,

Van Dyke’s failure to appear for the hearing, or both. The Special



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Master found that Van Dyke’s failure to attend the hearing was

willful.

     The Special Master further found that the State of Texas filed

a motion for forfeiture by wrongdoing in Van Dyke’s criminal case,

alleging that Van Dyke had procured the unavailability of a witness

the State planned to call in the case. The Texas court granted the

motion and ruled that, as a result of his wrongdoing, Van Dyke

waived his right to confront the witness and to object to the

admissibility of statements made by the witness. The Special Master

noted that Van Dyke admitted that the Texas court concluded that

he procured the unavailability of the witness but that Van Dyke

denied that he did so. The Special Master found this incident was

part of a pattern of misconduct showing Van Dyke’s lack of respect

for the law and legal process.

     The Special Master then turned back to the issue of reciprocal

discipline. First, the Special Master found that Van Dyke’s conduct

underlying the First and Second Texas Incidents indicated a lack of

respect for the law and legal process. As to the First Texas Incident,

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Van Dyke admitted to making threats in order to gain an advantage

in a civil lawsuit5; as to the Second Texas Incident, Van Dyke

admitted that in March 2018, he made threats to a person he

understood at the time to be his alleged harasser. The Special

Master accepted Van Dyke’s stipulation that he timely notified the

State Bar of the Second Texas Incident. However, the Special

Master concluded that Van Dyke was not subject to discipline in

Georgia for the Second Texas Incident. In this regard, the Special

Master compared Georgia Rules 8.4 (a) (2) and (3), which require

either a felony or misdemeanor criminal conviction in order to

impose discipline, with Texas Rule of Professional Conduct 8.04 (a)

(2), which permits discipline for criminal acts that do not result in




     5 The Special    Master made no finding about whether Van Dyke was
subject to reciprocal discipline in Georgia for the First Texas Incident.


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convictions.6 Citing Comment [3] to Rule 9.4,7 the Special Master

ultimately concluded that reciprocal discipline in Georgia based on

the other out-of-state discipline against Van Dyke would be

duplicative and inappropriate.

      b. Mitigating Facts Regarding Van Dyke’s Demonstrated Lack
         of Respect for the Law8

      In connection with the fact-finding ordered in Van Dyke I, the

Special Master found that several facts specifically mitigated Van

Dyke’s demonstrated lack of respect for the law: The misconduct was

limited to a one-year period of time from fall 2017, when Van Dyke


      6  We note, however, that the Special Master made no finding about
whether Van Dyke was subject to reciprocal discipline for the Second Texas
Incident under Georgia Rule 8.4 (a) (8), which provides that it is a violation of
the Georgia Rules for a lawyer “to commit a criminal act that relates to the
lawyer’s fitness to practice law or reflects adversely on the lawyer’s honesty,
trustworthiness or fitness as a lawyer, where the lawyer has admitted in
judicio, the commission of such act,” even though Van Dyke stipulated in his
third petition and at the hearing that he was “potentially” subject to discipline
under that Rule.
      7 Comment [3] to Rule 9.4 states that the imposition of discipline in one

jurisdiction does not mean that Georgia and every other jurisdiction in which
the lawyer is admitted must necessarily impose discipline.
      8 We note that the Special Master included this section within the “fact-

finding” section of his Report and Recommendation; in a separate section
entitled “recommendation of discipline,” he discussed mitigating factors in the
context of the ABA Standards for Imposing Lawyer Discipline.


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threatened civil or criminal action to gain an advantage in a civil

lawsuit and had a conflict of interest with respect to representing

his client in that lawsuit, through September 13, 2018, when he

made the false report to the police that formed the basis for his

misdemeanor charge; he was suffering from emotional distress

during that time due to harassment from his alleged harasser,9 who

has since passed away; Van Dyke successfully completed counseling

as a condition of his criminal probation; and he expressed remorse

for his misconduct. The Special Master found that Van Dyke’s

emotional problems and completion of counseling were mitigating

with respect to the threats he made to gain an advantage in a civil

lawsuit which formed the basis of the First Texas Incident; the

threats he made which formed the basis of the Second Texas



      9 The Special Master found that Van Dyke’s testimony regarding        his
alleged harasser’s harassment was bolstered by letters and affidavits from Van
Dyke’s colleagues and former employers, whom his alleged harasser had
apparently harassed as well. Additionally, the Special Master stated that Van
Dyke’s alleged harasser sent the Special Master communications which were
“strident and in at least one instance profane” during this disciplinary
proceeding. Thus, the Special Master found that, based on his personal
experience with the alleged harasser, that person was “harassing and out of
control.”

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Incident; and his willful failure to attend the bond hearing.

However, the Special Master determined that Van Dyke’s emotional

problems and treatment were not mitigating as to the conflict of

interest violation which was another basis for the First Texas

Incident, and they were not mitigating as to the Texas court’s

finding that Van Dyke procured the unavailability of a witness

because he denied doing so.10

      c. Special Master’s Conclusions of Law and Recommendation of
         Discipline

      The Special Master issued the following conclusions of law. In

regard to Rule 8.4 (a) (3), it is a violation of the Rules for a lawyer to

be convicted of a misdemeanor involving moral turpitude where the

underlying conduct relates to the lawyer’s fitness to practice law.

Van Dyke entered a plea of nolo contendere to a misdemeanor count

of filing a false police report, which is a crime involving dishonesty



      10 It is unclear why the Special Master considered mitigating evidence as

to Van Dyke’s conduct underlying the First and Second Texas Incidents, even
though he had made no findings as to whether Van Dyke was subject to
reciprocal discipline for the First Texas Incident and had already decided that
Van Dyke was not subject to reciprocal discipline in Georgia for the Second
Texas Incident.

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and moral turpitude, and relates to his fitness to practice law. See

In the Matter of Nicholson, 243 Ga. 803, 807 (257 SE2d 195) (1979)

(equating dishonesty with moral turpitude); Rule 8.4, cmt. [3]

(crimes involving dishonesty relate to lawyer’s ability to practice

law). At the hearing, the Special Master admitted into evidence a

certified copy of Van Dyke’s plea of nolo contendere in his Texas

criminal case without objection.11 Thus, the Special Master

concluded that the State Bar proved, by clear and convincing

evidence, that Van Dyke violated Rule 8.4 (a) (3) by entering a plea

of nolo contendere to a criminal misdemeanor charge.

      The Special Master concluded that the primary purpose of a

disciplinary action is to protect the public from attorneys who are

not qualified to practice law due to incompetence or unprofessional

conduct. In the Matter of Blitch, 288 Ga. 690, 692 (706 SE2d 461)

(2011). The Special Master looked to the ABA Standards for

Imposing Lawyer Discipline (“ABA Standards”) for guidance in



      11 A certified copy of a conviction from any jurisdiction is prima facie

evidence of a violation of Rule 8.4. See Rule 4-106 (g).

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determining the appropriate sanction to impose on a lawyer for a

violation of the Rules, see In the Matter of Morse, 266 Ga. 652, 653

(470 SE2d 232) (1996), which require (1) identification of the ethical

duty violated by the lawyer; (2) identification of the lawyer’s mental

state; and (3) examination of aggravating and mitigating

circumstances. Id.; ABA Standards, p. xvii.

     The Special Master found that ABA Standard 5.11 (b)12 applied

to Van Dyke because he entered a plea of nolo contendere to a

criminal misdemeanor charge. The Special Master then considered

aggravating and mitigating factors. In aggravation, the Special

Master found that Van Dyke engaged in a pattern of misconduct

indicating a lack of respect for the law, see ABA Standard 9.22 (c);

and that he had been practicing law for at least 10 years at the time

of his misconduct, see ABA Standard 9.22 (i). In mitigation, the

Special Master considered Van Dyke’s emotional problems arising



     12 ABA Standard 5.11 (b) states: “Disbarment is generally appropriate

when: (b) a lawyer engages in any other intentional conduct involving
dishonesty, fraud, deceit, or misrepresentation that seriously adversely
reflects on the lawyer’s fitness to practice.”

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from his issues with his alleged harasser, see ABA Standard 9.32

(b), again noting that they were mitigating as to some of Van Dyke’s

misconduct but not all of it, and that Van Dyke had completed a

counseling program and was pronounced fit to return to the practice

of law by a licensed therapist. Also in mitigation, the Special Master

considered Van Dyke’s cooperative attitude toward this disciplinary

proceeding, see ABA Standard 9.32 (e); letters from his colleagues

and therapist vouching for his good character and reputation, see

ABA Standard 9.32 (g); his remorse, see ABA Standard 9.32 (l); that

the underlying criminal charge involved a purely personal issue and

not the practice of law, see In the Matter of Haugabrook, 278 Ga. 721

(606 SE2d 257) (2004) (one-year suspension and public reprimand

imposed on lawyer convicted of felony tax evasion); and that he made

a timely, good-faith effort to rectify the consequences of his

misconduct, see ABA Standard 9.32 (d).

     The Special Master concluded that although the Court has

imposed disbarment in cases where a lawyer engages in criminal

conduct involving fraud, deceit, or false swearing, see In the Matter

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of Skandalakis, 279 Ga. 865 (621 SE2d 750) (2005), disbarment is

not mandatory in cases involving dishonesty and moral turpitude

when mitigating factors warrant a lesser penalty. See Haugabrook,

278 Ga. at 721. The Special Master noted that the Court has also

imposed suspension instead of disbarment in cases involving both

dishonesty and interference with the administration of justice. See

In the Matter of Wright, 291 Ga. 841 (732 SE2d 275) (2012) (six-

month suspension and public reprimand where lawyer made false

statements to the Georgia Court of Appeals and refused to take

responsibility for misconduct); In the Matter of Moore, 300 Ga. 407

(792 SE2d 324) (2016) (one-year suspension for attorney who made

false statements in certificates of service and misrepresented

communications with district attorney).

     The Special Master found that a lengthy suspension, rather

than disbarment, was the appropriate penalty due to the numerous

mitigating factors listed above. Thus, for Van Dyke’s violation of

Rule 8.4 (a) (3) as laid out in the Bar Rule 4-106 disciplinary matter,

the Special Master recommended that he be suspended for three

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years, noting that this was equal to “[t]he total sum of all

suspensions, active or probated, [Van Dyke] received in Texas.” Both

Van Dyke and the State Bar agreed this sanction was appropriate.

The Special Master further found that it would be appropriate for

the suspension to be imposed nunc pro tunc to March 1, 2019,

because Van Dyke offered evidence in the form of affidavits from his

supervisors at the company for which he represented Georgia clients

that he ceased practicing law in Georgia on February 28, 2019, and

that he fulfilled his ethical obligations to his Georgia clients by

finding new general counsel to represent them and ensuring their

files and critical information were transferred to the new general

counsel. See In the Matter of Onipede, 288 Ga. 156, 157 (702 SE2d

126) (2010).

     3. Analysis

     Having reviewed the record, we conclude that the Special

Master’s recommendation of a three-year suspension is an

appropriate penalty in this case. We note, however, that although

the Special Master declined to impose reciprocal discipline for the

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Second Texas Incident and concluded that reciprocal discipline

“based upon the remaining out-of-state discipline against [Van

Dyke] would be duplicative and inappropriate,” he based his

recommendation of a three-year suspension for Van Dyke’s Bar Rule

4-106 proceeding on the total length of time for which Van Dyke was

suspended for his three Texas disciplinary cases proceedings. The

State Bar endorsed the Special Master’s recommended discipline

and did not point out any of the potential deficiencies we identified

in footnotes 5, 6, and 10 as to the Special Master’s findings regarding

Van Dyke’s potential exposure to reciprocal discipline in Georgia for

the Texas Incidents. Moreover, the State Bar has not initiated any

separate proceedings alleging that Van Dyke violated the Rules

through    his   conduct     connected      with    his    Texas     criminal

misdemeanor case, including his failure to attend the bond hearing,

making additional email threats, and the Texas court’s forfeiture by

wrongdoing determination. Nevertheless, the three-year suspension

sought by Van Dyke, endorsed by the State Bar, and recommended

by the Special Master is equal to the suspensions imposed in Van

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Dyke’s three Texas Incidents, and we generally impose substantially

similar discipline in the reciprocal discipline context. See In the

Matter of Meaney, 298 Ga. 136 (779 SE2d 662) (2015) (suspending

attorney for three months following the receipt of a three-month

suspension in Tennessee).

     Although we have misgivings about Van Dyke’s conduct with

respect to the proceedings in his Texas criminal case, based on the

Special Master’s findings, the nature of reciprocal discipline

matters—which the Special Master looked to for guidance in

engaging in the fact-finding we requested in Van Dyke I and in

formulating his ultimate recommendation—wherein this Court

must only impose “substantially similar” discipline, see Rule 9.4 (b)

(3), and the Bar’s failure to charge additional violations of the Rules,

we hereby accept the Special Master’s recommendation and impose

a three-year suspension, which is generally the maximum amount

of time this Court will consider for a suspension. See ABA Standard

2.3 (“Generally, suspension should be for a period of time equal to or



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greater than six months, but in no event should the time period prior

to application for reinstatement be more than three years.”).

     Furthermore, as the record shows that Van Dyke provided

evidence that he voluntarily ceased the practice of law as of

February 28, 2019, we accept the Special Master’s recommendation

to impose Van Dyke’s three-year suspension nunc pro tunc to that

date. See Onipede, 288 Ga. at 157. Van Dyke is also hereby

reinstated, given that his three-year suspension would be completed

by the date on which this opinion will be issued.

     Three-year suspension nunc pro tunc; reinstated. All the
Justices concur.




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